    Case: 1:22-cv-02033 Document #: 102 Filed: 04/25/25 Page 1 of 2 PageID #:253



                                    NORTHERN DISTRICT OF ILLINOIS


Lisa Del Guidice                       *
Plaintiff                              *
v.                                     *      Case No. 1:22-cv-02033
                                       *
All State Insurance                    *
Defendant                              *
_____________________________________________________________________________________

                      JOINT MOTION OF THE PARTIES TO ALLOW SUMMARY JUDGMENT

                               MOTION AND HEARING BROUGHT BY DEFENDANT

        Now comes the parties in the above-entitled matter and they hereby move this Honorable Court
to allow Defendant to move for summary judgment and to schedule a hearing on said motion on June 2.

  The parties report to the court as follows:

    1. The parties have had extensive discussions about the facts and the documents.
    2. It is in the interest of Judicial Economy to allow for a summary judgment hearing.
    3. If the Defendant’s motion is denied, Plaintiff promises the court that present counsel will have
       secured replacement trial counsel by June 2 and that only a short continuance after June 2 will
       be necessary to allow replacement counsel to be ready for trial.
    4. The parties' discussions make it clear that the interpretation of the insurance policy at issue is
       for the court, not for a jury and that fact may lead to disposition without trial.




        The Plaintiff,                                   The Defendant,
        Lisa Del Guidice                                 Allstate Indemnity Company
        By her attorney                                  By its attorney
        /s/ Robert D. Loventhal                          /s/ Mark B. Ruda
        Robert D. Loventhal, Esq.                        Mark B. Ruda, Esq.
   Case: 1:22-cv-02033 Document #: 102 Filed: 04/25/25 Page 2 of 2 PageID #:254




                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 25, 2025 a copy of the foregoing was served upon all
parties or their counsel of record by electronic mail via efile-IL.




________________
Robert D. Loventhal
